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                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED                      )             Case Number: 1:22-cv-10904-UA
STATES VIRGIN ISLANDS                         )
                                              )             ACTION FOR DAMAGES
                       PLAINTIFF,             )
                                              )             JURY TRIAL DEMANDED
                V.                            )
                                              )
JPMORGAN CHASE BANK, N.A.                     )
                                              )
                       DEFENDANT.             )

                     COMPLAINT AND DEMAND FOR A JURY TRIAL

       Plaintiff Government of the United States Virgin Islands (“Government”) files this

Complaint against JPMorgan Chase Bank, N.A. (“JP Morgan”) for violations of Trafficking

Victims Protection Act, 18 U.S.C. §§ 1591 to 1595, the Virgin Islands Criminally Influenced and

Corrupt Organizations Act, 14 V.I.C. §§ 600 to 614, and the Virgin Islands Consumer Fraud and

Deceptive Business Practices Act, 12A V.I.C. §§ 301 to 336, and in support thereof alleges as

follows:

                                            PARTIES

       1.       The Attorney General of the United States Virgin Islands (hereinafter “Virgin

Islands”) brings this parens patriae action on behalf of the Plaintiff, Government of the Virgin

Islands, pursuant to 15 U.S.C. § 1595(d) and 3 V.I.C. § 114 and her statutory authority to enforce

the laws of the Virgin Islands and protect public safety.

       2.       The Attorney General, pursuant to her authority to represent the Government of the

United States Virgin Islands, also acts on behalf of, and with the lawfully delegated authority of,

the Virgin Islands Department of Licensing and Consumer Affairs under 12 V.I.C. § 327 in regard

to Count Four of the Government’s Complaint alleging violations of the Virgin Islands Consumer
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Fraud and Deceptive Business Practices Act.

       3.       This action stems from an enforcement action the Government filed against the

Estate of Jeffrey E. Epstein, the Co-Executors of the Estate, and various entities relating to Jeffrey

Epstein (“Epstein”), under the Virgin Islands’ Criminally Influenced and Corrupt Organizations

Act (“CICO Act”), see Government of the U.S. Virgin Islands v. Indyke et al., Case No. ST-20-

CV-14 (Super. Ct. V.I. Jan. 15, 2020). The Attorney General brings this action, after presenting

her findings to JP Morgan in September 2022, in her ongoing effort to protect public safety and to

hold accountable those who facilitated or participated in, directly or indirectly, the trafficking

enterprise Epstein helmed. The investigation revealed that JP Morgan knowingly, negligently, and

unlawfully provided and pulled the levers through which recruiters and victims were paid and was

indispensable to the operation and concealment of the Epstein trafficking enterprise. Financial

institutions can connect—or choke—human trafficking networks, and enforcement actions filed

and injunctive relief obtained by attorneys general are essential to ensure that enterprises like

Epstein’s cannot flourish in the future.

       4.       Defendant JPMorgan Chase Bank, N.A. is an American multinational investment

bank and financial services company headquartered in New York City and incorporated in

Delaware.

       5.       At all relevant times, JP Morgan engaged in business in the Virgin Islands,

including, but not limited to, the acts and practices described herein.

       6.       As described below, based on documents reviewed and interviews conducted by

the Government, JP Morgan knowingly facilitated, sustained, and concealed the human trafficking

network operated by Jeffrey Epstein from his home and base in the Virgin Islands, and financially

benefitted from this participation, directly or indirectly, by failing to comply with federal banking



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regulations. JP Morgan facilitated and concealed wire and cash transactions that raised suspicion

of—and were in fact part of—a criminal enterprise whose currency was the sexual servitude of

dozens of women and girls in and beyond the Virgin Islands. Human trafficking was the principal

business of the accounts Epstein maintained at JP Morgan.

       7.       Upon information and belief, JP Morgan turned a blind eye to evidence of human

trafficking over more than a decade because of Epstein’s own financial footprint, and because of

the deals and clients that Epstein brought and promised to bring to the bank. These decisions were

advocated and approved at the senior levels of JP Morgan, including by the former chief executive

of its asset management division and investment bank, whose inappropriate relationship with

Epstein should have been evident to the bank. Indeed, it was only after Epstein’s death that JP

Morgan belatedly complied with federal banking regulations regarding Epstein’s accounts.

                      JURISDICTION, VENUE, AND RELATED CASE

       8.       This action is brought pursuant to and based on federal and Virgin Islands statutes,

including the federal Trafficking Victims Protection Act, 18 U.S.C. §§ 1591 to 1595 (“TVPA”),

and the federal Bank Secrecy Act, 31 U.S.C. §§ 5311 to 5336 (“BSA”).

       9.       This Court has federal question subject-matter jurisdiction pursuant to 28 U.S.C.

§ 1331 because the Government’s TVPA and BSA-based causes of action arise under federal law.

       10.      This Court has supplemental jurisdiction over the Government’s Virgin Islands law

claims pursuant to 28 U.S.C. § 1367(a) because these claims are so related to those arising under

or based on federal law as to form part of the same case or controversy under Article III of the

United States Constitution.

       11.      This Court is an “appropriate district court of the United States” in which for the

Government to obtain appropriate relief under 18 U.S.C. § 1595(d) and venue is proper under 28



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U.S.C. § 1391(b)(2) because Defendant maintains its principal place of business within this

judicial district, so that this Court may exercise general personal jurisdiction over Defendant, and

because many of the alleged acts and omissions of Defendant giving rise to the Government’s

claims took place within this judicial district, so that this Court may exercise specific personal

jurisdiction over Defendant.

       12.      Pursuant to Local Civil Rule 1.6(a), the undersigned believe that this action is

related to Doe 1 v. JP Morgan Chase & Co., No. 1:22-cv-10019 (S.D.N.Y. Nov. 24, 2022), because

both actions arise from a common nucleus of operative fact involving Defendant JP Morgan’s

alleged participation, directly or indirectly, in Epstein’s sex-trafficking venture by facilitating

payments to women and girls, channeling funds to Epstein to fund the operation, and concealing

Epstein’s criminal conduct by failing to comply with federal banking regulations.

                                        BACKGROUND

I.     JP Morgan’s Federal and State Legal Requirements

       13.     JP Morgan is subject to federal laws, including the BSA and the Uniting and

Strengthening America by Providing Appropriate Tools Required to Intercept and Obstruct

Terrorism Act of 2001, Pub. L. No. 107-56, 115 Stat. 272 (“USA PATRIOT Act”).

       14.     Under both the BSA and USA PATRIOT Act, JP Morgan is required to implement

adequate, risk-based anti-money laundering (“AML”) policies and systems to detect and prevent

money laundering or other use of the institution’s services to facilitate criminal activities. This

includes, but is not limited to, maintaining a due diligence program, filing suspicious activity

reports (“SARs”) when the financial institutions detect suspicious behavior and currency

transaction reports (“CTRs”) for currency transactions or series of currency transactions that

exceed $10,000 in a 24-hour period, preventing structuring or assistance with structuring of



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transactions undertaken for the purpose of evading federal reporting requirements, and maintaining

systems to prevent money laundering.

       15.     The FDIC and the other federal banking regulators, including the Federal Reserve

Board and Office of the Comptroller of the Currency, formed an interagency organization known

as Federal Financial Institutions Examination Council (“FFIEC”).

       16.     To provide further guidance to banks on what BSA compliance requires, FFIEC

published a Bank Secrecy Act/Anti-Money Laundering Examination Manual (“BSA Manual”).

The BSA Manual explains that an effective SAR program is essential:

       Suspicious activity reporting forms the cornerstone of the BSA reporting system. It
       is critical to the United States’ ability to utilize financial information to combat
       terrorism, terrorist financing, money laundering and other financial crimes.
       Examiners and banks should recognize that the quality of SAR content is critical to
       the adequacy and effectiveness of the suspicious activity reporting system.1

       17.     Pursuant to the BSA Manual, “[p]roper monitoring and reporting processes are

essential to ensuring that the bank has an adequate and effective BSA compliance program.

Appropriate policies, procedures, and processes should be in place to monitor and identify unusual

activity.” 2 When a bank detects suspicious activity, it is required to report that information within

30 days to the U.S. Department of the Treasury’s Financial Crimes Enforcement Network

(“FinCEN”). The reporting requirement ensures that the government is able to monitor and act

when alerted to potential illegal conduct.

       18.     Appendix F of the BSA Manual includes examples of suspicious transactions that

may indicate money laundering, terrorist financing, or fraud, including:



1
  FFIEC Bank Secrecy Act/Anti-Money Laundering Examination Manual, Suspicious Activity
Reporting at 1 (2014)
https://bsaaml.ffiec.gov/docs/manual/06_AssessingComplianceWithBSARegulatoryRequirement
s/04.pdf.
2
  Id. at 2.
                                                  5
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               a.      Funds transfer activity is unexplained, repetitive, or shows unusual patterns;

               b.      The currency transaction patterns of a business show a sudden change

                       inconsistent with normal activities;

               c.      Unusual transfers of funds occur among related accounts or among accounts

                       that involve the same or related principals;

               d.      Currency is deposited or withdrawn in amounts just below identification or

                       reporting thresholds;

               e.      Regarding nonprofit or charitable organizations, financial transactions

                       occur for which there appears to be no logical economic purpose or in which

                       there appears to be no link between the stated activity of the organization

                       and the other parties in the transaction;

               f.      Funds are sent or received via international transfers from or to higher-risk

                       locations.

       19.     In addition, the CICO Act, 14 V.I.C. § 600, incorporates violations of Virgin Islands

Law and federal felonies, which includes the BSA and the USA PATRIOT Act.

II.    Jeffrey Epstein’s Criminal Conduct

       20.     Jeffrey Epstein was a resident of the Virgin Islands.

       21.     In 2008, Epstein pled guilty to one count of solicitation of prostitution with a minor

in Palm Beach, Florida. As a result of that conviction, Epstein was forced to register as a sex

offender in the Virgin Islands.

       22.     Epstein was a Tier 1 offender under Virgin Islands law based upon his Florida

conviction of procuring a minor for prostitution.

       23.     On January 15, 2020, the Government filed a lawsuit against Jeffrey Epstein’s



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estate and related individuals and entities for violation of the CICO Act, 14 V.I.C. §§ 600 to 614,

and civil conspiracy, which the Government recently settled. As laid out in the Government’s

Second Amended Complaint, ST-20-CV-14, (“SAC”) (attached as Exhibit 1), Epstein created a

network of companies and individuals who participated in, directly or indirectly, and conspired with

him in a pattern of criminal activity related to the sex trafficking, forced labor, sexual assault, child

abuse, and sexual servitude of these young women and children. SAC ¶¶ 43-75. Epstein and his

associates trafficked underage girls to the Virgin Islands, held them captive, and sexually abused

them, causing them grave physical, mental, and emotional injury. Id.

        24.     To accomplish this criminal activity, Epstein formed an association in fact with

both companies and non-profit organizations that he owned and operated, as well as individuals,

who were willing to participate in, directly or indirectly, facilitate, and conceal Epstein's criminal

activity in exchange for Epstein's bestowal of financial and other benefits, including sexual

services and forced labor from victims. Id. ¶¶ at 157-195.

        25.     In October 2012, the Southern Trust Company—one of the companies Epstein

owned—applied for economic benefits from the Virgin Islands Economic Development

Commission (“EDC”) so the company could provide “cutting edge consulting services” in the area

of “biomedical and financial informatics.” Id. ¶¶ 157-158. Southern Trust Company received a 10-

year package of economic incentives running from February 1, 2013 until January 31, 2023 that

included a 90% exemption from income taxes and 100% exemptions from gross receipts, excise,

and withholding taxes in the Virgin Islands. Id. ¶ 159.

        26.     Southern Trust, in fact, appeared to perform no informatics or data-mining services

during this period. Instead, Southern Trust funded the Epstein Enterprise (defined below), acting as

a conduit for payment to foreign women, credit cards, airplanes and other instrumentalities. Id.



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¶¶ 167-173.

       27.     This illicit association of Epstein, businesses, and his associates constitutes what is

referred to herein as the “Epstein Enterprise.” Specifically included in the Epstein Enterprise were

the following companies and non-profit organizations, all of which had accounts with JP Morgan:

2013 Butterfly Trust, Coatue Enterprises, LLC, C.O.U.Q. Foundation, Enhanced Education,

Financial Trust Company, Inc., HBRK Associates, Inc., Hyperion Air, Inc, JEGE, Inc., JEGE,

LLC, NES, LLC, Plan D, LLC, Southern Financial, LLC, and Southern Trust Company.

       28.     Epstein used his wealth and power to create the Epstein Enterprise, which engaged

in a pattern of criminal activity by repeatedly procuring and subjecting underage girls and young

women to unlawful sexual conduct, sex trafficking, and forced labor.

       29.     Many of these women, particularly after Epstein’s conviction in 2008, were

trafficked from Eastern Europe. As the Government explained in its Second Amended Complaint,

these women were recruited and, in several instances, required to marry other Epstein victims in

order to maintain their immigration status and their availability to Epstein. Id. ¶¶ 62- 63, 78, 86.

       30.     As also alleged in the Second Amended Complaint, recruiters and victims were paid

in cash or through entities set up by Epstein and/or his associates. Id. ¶ 100. Many of these companies

were shell companies, that existed merely to transfer money to other accounts, or to shelter Epstein’s

assets from judgment. Id. ¶ 116.

       31.     Epstein’s lawyer, Darren K. Indyke, and accountant, Richard Kahn, now the Co-

Executors of Epstein’s Estate, authorized or directed many of the transactions in JP Morgan accounts

held by Epstein or related entities. Id. ¶¶ 8-10, 76-117.

       32.     Epstein and the Epstein Enterprise continued trafficking and sexually abusing

young women and female children until Epstein was arrested by federal law enforcement



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authorities on July 6, 2019 on federal charges for the sex trafficking of minors.

       33.     Epstein was found dead on August 10, 2019 while in custody in a federal detention

center in New York on charges for sex-trafficking crimes. Id. ¶ 7.

                                        ALLEGATIONS

I.     Jeffrey Epstein Was an Extremely High-Risk Customer

       34.     Jeffrey Epstein’s reputation as a sex trafficker and abuser of women and girls was

well-known and well-publicized for more than a decade before his death.

       35.     Between 2005 and 2013, there were numerous press reports that Epstein sexually

abused women and girls.

       36.     In March 2005, there were press reports that Epstein paid a 14-year old girl in Palm

Beach, Florida for a “massage” and then molested her. Following these allegations, multiple

underage girls, many of them high school students, told police that Epstein also hired them to give

sexual massages.

       37.     Throughout 2006—when Epstein was arrested in Palm Beach, Florida for

solicitation of a minor—there was extensive press regarding the nature and extent of Epstein’s

sexual offenses, including the existence of dozens of victims.

       38.     In 2008, Epstein pled guilty to sexual offenses in Palm Beach, Florida, including

solicitating a minor for prostitution. Epstein was sentenced to 18 months in jail and was required

to register as a sex offender.

       39.     In 2009, the non-prosecution agreement between Epstein and the United States

became public. It revealed allegations that Epstein may have used interstate commerce to induce

minors to engage in prostitution, engaged in illicit sexual conduct with minors, and trafficked

minors.



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       40.     In 2010, press reports noted allegations that Epstein was involved with Eastern

European women in particular and that a modeling agency he helped fund brought “young girls . .

. often from Eastern Europe” to the United States on Epstein’s private jets.3

II.    JP Morgan Knew Epstein Was a Felon, Registered Sex Offender, and Alleged Child
       Trafficker

       41.     JP Morgan did business with Jeffrey Epstein from as early as              . In that

time, JP Morgan serviced approximately                Epstein-related accounts collectively worth

                               .

       42.




       43.




                                                                                                 .

       44.




       45.




3
 Conchita Sarnoff, Jeffrey Epstein Pedophile Billionaire and His Sex Den, The Daily Beast (July
22, 2010), https://www.thedailybeast.com/jeffrey-epstein-pedophile-billionaire-and-his-sex-den.
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46.

                           :




47.




      a.




      b.




48.




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       49.




       50.




III.   Head of JP Morgan’s Private Bank Had Close Personal Relationship With Epstein

       51.     Former senior executive, Jes Staley (“Staley”), developed a close relationship with

Epstein when Staley was the head of JP Morgan’s Private Bank, which is a segment of JP Morgan’s

business dedicated to extremely wealthy clients with at least $10 million in assets.

       52.




       53.




       54.



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       55.




       56.      At the time of Epstein’s death in 2019, Staley was the Chief Executive Officer of

Barclays; however, Staley stepped down from that position in November 2021 after British

financial regulators concluded an investigation into Staley’s characterization of his relationship

with Epstein.

IV.    JP Morgan Ignored Obvious Red Flags Relating to Epstein’s Accounts

       57.




       58.




       59.



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       60.




        .

       61.    Each of these red flags was serious; together, they suggest a pattern of potentially

illegal conduct that should have prompted action by JP Morgan.




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V.   Epstein Brought Additional High Net Worth Clients to JP Morgan

     62.



     63.




     64.




     65.



     66.



      .

     67.




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         68.   J



                                                                                                   .

         69.   In January 2013—                                                          —the Office

of the Comptroller of the Currency (“OCC”) entered into a consent order with JP Morgan regarding

deficiencies in the bank’s overall program for BSA/AML compliance. The OCC found—

consistent with the Government's findings here—that JP Morgan failed to develop adequate due

diligence on customers and failed to comply with federal banking regulations. In fact, the OCC

noted that JP Morgan “failed to identify significant volumes of suspicious activity”.4

         70.

                                   .

         71.   The New York State Department of Financial Services (“NYSDFS”) investigated

Deutsche Bank for failures to monitor Epstein’s accounts. On July 6, 2020, the NYSDFS and

Deutsche Bank entered into a Consent Order with a $150 million penalty, which stated, in relevant

parts:

               a.     “The Bank’s fundamental failure was that, although the Bank properly


4
  NYSDFS Consent Order at 2-4 (Jan. 14, 2013), https://www.occ.treas.gov/news-
issuances/news-releases/2013/nr-occ-2013-8a.pdf.
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                     classified Mr. Epstein as high-risk, the Bank failed to scrutinize the activity

                     in the accounts for the kinds of activity that were obviously implicated by

                     Mr. Epstein’s past. The Bank was well aware not only that Mr. Epstein had

                     pled guilty and served prison time for engaging in sex with a minor but also

                     that there were public allegations that his conduct was facilitated by several

                     named co-conspirators. Despite this knowledge, the Bank did little or

                     nothing to inquire into or block numerous payments to named co-

                     conspirators, and to or on behalf of numerous young women, or to inquire

                     how Mr. Epstein was using, on average, more than $200,000 per year in

                     cash.”

              b.     “Whether or to what extent those payments or that cash was used by Mr.

                     Epstein to cover up old crimes, to facilitate new ones, or for some other

                     purpose are questions that must be left to the criminal authorities, but the

                     fact that they were suspicious should have been obvious to Bank personnel

                     at various levels. The Bank’s failure to recognize this risk constitutes a

                     major compliance failure.”

              c.     “These errors are unacceptable in the context of a major international bank

                     and inexcusable in the context of the heightened scrutiny that should have

                     occurred in the monitoring of a high-risk customer.”

       72.    The NYSDFS also found fault with Deutsche Bank’s failure to obtain answers

regarding Epstein’s use of his accounts to pay women with Eastern European surnames: “In a May

2018 email, a compliance officer submitted an inquiry . . . about payments to the accounts of

women with Eastern European surnames at a Russian bank, and asking for an explanation of the



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purpose of the wire transactions and Epstein’s relationship with the counterparties.”5

          73.




VI.       JP Morgan Fraudulently Concealed Its Continuing Violations

          74.    JP Morgan’s continuous illegal conduct has caused repeated and continuous injury.

          75.




JP Morgan ignored numerous red flags and failed to comply with federal banking regulations until

years later after JP Morgan was no longer benefiting from Epstein’s business.

          76.    JP Morgan also engaged in a course of conduct aimed at fraudulently concealing

its illegal conduct, including by failing to timely comply with federal banking regulations in order

to profit from Epstein’s wealth and connections.

          77.    A key purpose of federal banking regulations is to give law enforcement real-time

information so that it can act to detect violations of the law and protect public safety.

          78.    The Government of the Virgin Islands did not know, and could not have known,

that Epstein used JP Morgan to facilitate his trafficking enterprise or that JP Morgan turned a blind

eye to unusual cash transactions and wires and failed to carry out or follow up on basic due

diligence and to timely comply with federal banking regulations, as required by the law.



5
    Id. at 15.
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        79.     Over more than a decade, JP Morgan clearly knew it was not complying with

federal regulations in regard to Epstein-related accounts as evidenced by its too-little too-late

efforts after Epstein was arrested on federal sex trafficking charges and shortly after his death,

when JP Morgan belatedly complied with federal law.

        80.     The continued illegal conduct by JP Morgan has caused repeated and continuous

injury. JP Morgan’s illegal conduct was not completed nor were all damages incurred until the

wrongdoing ceased in August 2019 when JP Morgan began belatedly complying with federal

banking regulations in regard to Epstein-related accounts.

                                      CAUSES OF ACTION

                                           COUNT ONE
                            Participating in a Sex-Trafficking Venture
                          Violation of Trafficking Victims Protection Act
                           18 U.S.C. §§ 1591(a)(2), 1595(d) (Parens Patriae)

        81.     The Government restates and realleges paragraphs 1 to 80 of this Complaint as if

fully set forth herein.

        82.     The Government brings this Count as parens patriae on behalf of the residents and

visitors of the United States Virgin Islands and pursuant to the Attorney General’s express

statutory authority.

        83.     JP Morgan knowingly and intentionally participated in Epstein’s sex-trafficking

venture that was in and affecting interstate and foreign commerce, together and with others, in

violation of 18 U.S.C. § 1591(a)(2) by

                                 , and concealing Epstein’s criminal conduct by failing to comply

with federal banking law.

        84.     JP Morgan knowingly and intentionally benefitted financially from and received

value for its participation in the sex-trafficking venture in which Epstein and his co-conspirators,


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with JP Morgan’s knowledge or reckless disregard of the fact, would use means of force, threats

of force, fraud, coercion, and a combination of such means to sexually abuse young women and

underage girls, including by causing them to engage in commercial sex acts, in the Virgin Islands

and elsewhere.

       85.       Among the financial benefits that JP Morgan received for participating in and

facilitating Epstein’s sex-trafficking venture was the deposit of funds that Epstein—a Virgin

Islands resident—and Epstein-controlled entities located in the Virgin Islands made to JP Morgan.

JP Morgan profited from the use of these deposits. Epstein and Epstein-controlled entities located

in the Virgin Islands deposited these funds in exchange for JP Morgan’s facilitation of and

participation in Epstein’s sex-trafficking venture.

       86.       Also, among the financial benefits that JP Morgan received for participating in and

facilitating Epstein’s sex-trafficking venture were




                                                                                        .

       87.       JP Morgan financially profited from the deposits made by Epstein and Epstein-

controlled entities located in the Virgin Islands and from

                                              in exchange for its known facilitation of and implicit

participation in Epstein’s sex trafficking venture.

       88.       JP Morgan knew and recklessly disregarded and concealed the fact that it was

Epstein’s pattern and practice to use the channels and instrumentalities of interstate and foreign

commerce to recruit, entice, harbor, transport, provide, obtain, and maintain young women and




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underage girls for purposes of causing them to engage in commercial sex acts in violation of 18

U.S.C. § 1591(a)(1).

       89.     JP Morgan and its employees had actual knowledge that they were facilitating

Epstein’s sexual abuse and sex-trafficking conspiracy to recruit, entice, harbor, transport, provide,

obtain, and maintain young women and underage girls to engage in commercial sex acts through

the means of force, threats of force, fraud, abuse of process, and coercion.

       90.     Despite this knowledge, JP Morgan intentionally paid for, concealed, facilitated,

and participated in Epstein’s and his co-conspirators’ violations of 18 U.S.C. § 1591(a), which JP

Morgan knew and was in reckless disregard of the fact that Epstein and his co-conspirators would

use its bank accounts and financial transactions to coerce, defraud, and force young women and

underage girls to engage in commercial sex acts.

       91.     JP Morgan, through its employees and agents and their role in facilitating the

financial aspect of Epstein’s enterprise, actively facilitated or participated in the sex-trafficking

conspiracy in which Epstein and his co-conspirators led young women and underage girls in the

Virgin Islands and elsewhere to believe that they would be rewarded if they cooperated with

Epstein and his co-conspirators and acquiesced to their demands.

       92.     JP Morgan committed this affirmative conduct knowing or in reckless disregard of

the fact that Epstein would use cash transactions and financial support provided by JP Morgan as

a means to defraud, force, and coerce commercial sex acts from young women and underage girls.

       93.     In addition to having actual knowledge that it was participating in and facilitating

the Epstein sex-trafficking venture, JP Morgan also knew that it was participating in and

facilitating a venture that was engaged in coercive sex trafficking in violation of 18 U.S.C. §

1591(a)(1).



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        94.     In exchange for facilitating and covering up Epstein’s commercial sex trafficking,

JP Morgan’s employees received financial benefits and career advancement from JP Morgan.

        95.     Facilitating and covering up Epstein’s sex trafficking venture was a means for JP

Morgan employees to obtain economic success and promotion within JP Morgan.

        96.     JP Morgan’s knowing and intentional conduct has caused serious harm to the

Virgin Islands and its residents, including without limitation financial harm, by facilitating the

commission of sexual abuse against young women and underage girls, including their engagement

in commercial sex acts, in the Virgin Islands.

        97.     JP Morgan’s tortious conduct in violating the TVPA was outrageous and intentional

because it was in deliberate furtherance of a widespread and dangerous criminal sex-trafficking

venture operated in and from the Virgin Islands. JP Morgan’s tortious conduct also evidenced a

high degree of moral turpitude and demonstrated such wanton disregard for the safety of young

women and underage girls in the Virgin Islands and elsewhere as to imply a deliberate indifference

to its legal obligations.

        98.     By virtue of these knowing and intentional violations of 18 U.S.C. § 1591(a)(2), JP

Morgan is liable to the Government for all appropriate relief under 18 U.S.C. § 1595(d), including

damages suffered by the Government and/or Epstein’s victims, punitive damages, restitution,

appropriate injunctive relief, fines, reasonable attorneys’ fees, and all such other relief as the Court

deems appropriate.

                                      COUNT TWO
   Criminal Activity—Participating, Directly or Indirectly, in a Sex-Trafficking Venture
          Violation of Trafficking Victims Protection Act, 18 U.S.C. § 1591(a)(2),
  actionable under Virgin Islands Criminally Influenced and Corrupt Organizations Act,
                               14 V.I.C. §§ 604(e) and 605(a)




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          99.    The Government restates and realleges paragraphs 1 to 98 of this Complaint as if

funny set forth herein.

          100.   The Virgin Islands Legislature enacted the CICO Act with the purpose to “curtail

criminal activity and lessen its economic and political power in the Territory of the Virgin Islands

by establishing new penal prohibitions and providing to law enforcement and the victims of

criminal activity new civil sanctions and remedies.” 14 V.I.C. § 601.

          101.   At all times material herein, JP Morgan was a “person” identified in 14 V.I.C. §

604(l).

          102.   At all times material herein, Epstein and his co-conspirators were engaged in an

illicit sex-trafficking “enterprise” as defined in 14 V.I.C. § 604(h).

          103.   At all times material herein, JP Morgan supported and/or was associated with the

Epstein sex-trafficking enterprise by providing banking and payment-processing services to

Epstein, who resided in the Virgin Islands, and Epstein-controlled entities that were located and/or

incorporated in the Virgin Islands.

          104.   In providing banking and payment-processing services to Epstein and Epstein-

controlled entities in return for profits realized both from Epstein’s and Epstein-controlled entities’

accounts and from                                                                        , JP Morgan

knowingly, intentionally, and willfully benefitted financially and by receiving things of value from

its participation, directly or indirectly, in Epstein’s sex-trafficking venture and enterprise, in

violation of 18 U.S.C. § 1591(a)(2).

          105.   JP Morgan’s knowing, intentional, and willful receipt of financial benefits and

things of value from its facilitation and participation in Epstein’s sex-trafficking venture and




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enterprise through the financial infrastructure it provided and concealed constitutes a felony under

18 U.S.C. § 1591(b) and “criminal activity” as defined in 14 V.I.C. § 604(e).

        106.    By knowingly, intentionally, and willfully receiving financial benefits and things

of value from its participation, directly or indirectly, via financing in Epstein’s sex-trafficking

venture and enterprise, JP Morgan enabled Epstein to have ready and reliable access to and use of

resources with which to recruit, entice, harbor, transport, provide, obtain, and maintain young

women and underage girls for purposes of causing them to engage in commercial sex acts in the

Virgin Islands and elsewhere. JP Morgan thereby unlawfully conducted and/or participated in,

directly or indirectly, the affairs of the Epstein sex-trafficking enterprise through a pattern of illegal

activity in violation of 14 V.I.C. § 605(a).

        107.    JP Morgan’s illegal activity has caused serious harm to the Virgin Islands and its

residents, including without limitation financial harm, by facilitating the commission of sexual

abuse against young women and underage girls, including their facilitation and participation,

directly or indirectly, in commercial sex acts, in the Virgin Islands.

        108.    By virtue of this pattern of illegal activity in furtherance of the Epstein sex-

trafficking enterprise, JP Morgan is liable to the Government for all appropriate civil remedies

under 14 V.I.C. § 607, including treble damages suffered by the Government and/or Epstein’s

victims, civil penalties, restitution and/or disgorgement of ill-gotten gains, appropriate injunctive

relief, attorneys’ fees and costs, and all such other relief as the Court deems appropriate.

                                    COUNT THREE
       Criminal Activity—Willfully Failing To Comply With Federal Banking Law,
                   Violation of Bank Secrecy Act, 31 U.S.C. § 5322(a),
  actionable under Virgin Islands Criminally Influenced and Corrupt Organizations Act,
                              14 V.I.C. §§ 604(e) and 605(a)




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        109.    The Government restates and realleges paragraphs 1 to 108 of this Complaint as if

fully set forth herein.

        110.    The Virgin Islands Legislature enacted the CICO Act with the purpose to “curtail

criminal activity and lessen its economic and political power in the Territory of the Virgin Islands

by establishing new penal prohibitions and providing to law enforcement and the victims of

criminal activity new civil sanctions and remedies.” 14 V.I.C. § 601.

        111.    At all times material herein, JP Morgan was a “person” as defined in 14 V.I.C.

§ 604(l).

        112.    At all times material herein, Epstein and his co-conspirators were engaged in an

illicit sex-trafficking “enterprise” as defined in 14 V.I.C. § 604(h).

        113.    At all times material herein, JP Morgan was employed by and/or associated with

the Epstein sex-trafficking enterprise by providing banking and payment-processing services to

Epstein, who resided in the Virgin Islands, and Epstein-controlled entities that were located and/or

incorporated in the Virgin Islands.

        114.    In providing banking and payment-processing services to Epstein and Epstein-

controlled entities, JP Morgan knowingly, intentionally, and willfully failed to comply with federal

banking regulations in violation of 31 U.S.C. § 5322(a). From accounts maintained and served at

JP Morgan,




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        115.    JP Morgan’s knowing, intentional, and willful failure to comply with federal

banking regulations constitutes a felony under 31 U.S.C. § 5322(a) and “criminal activity” as

defined in 14 V.I.C. § 604(e).

        116.    By knowingly, intentionally, and willfully failing to comply with federal banking

regulations, JP Morgan enabled Epstein to have ready and reliable access to and use of resources

with which to recruit, entice, harbor, transport, provide, obtain, and maintain young women and

underage girls for purposes of causing them to engage in commercial sex acts in the Virgin Islands

and elsewhere. JP Morgan thereby unlawfully conducted and/or participated in, directly or

indirectly, the affairs of the Epstein sex-trafficking enterprise through a pattern of illegal activity

in violation of 14 V.I.C. § 605(a).

        117.    JP Morgan’s illegal activity has caused serious harm to the Virgin Islands and its

residents, including without limitation financial harm, by facilitating the commission of sexual

abuse against young women and underage girls, including their engagement in commercial sex

acts, in the Virgin Islands.

        118.    By virtue of this pattern of illegal activity in furtherance of the Epstein sex-

trafficking enterprise, JP Morgan is liable to the Government for all appropriate civil remedies

under 14 V.I.C. § 607, including treble damages suffered by the Government and/or Epstein’s

victims, civil penalties, restitution and/or disgorgement of ill-gotten gains, appropriate injunctive

relief, attorneys’ fees and costs, and all such other relief as the Court deems appropriate.

                                       COUNT FOUR
                                Unfair Methods of Competition
                         Violation of Virgin Islands Consumer Fraud
                     and Deceptive Business Practices Act, 12A V.I.C. § 304

        119.    The Government restates and realleges paragraphs 1 to 118 of this Complaint as if

fully set forth herein.


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       120.    Section 304 of Title 12A of the Virgin Islands Code provides that “[i]t is unlawful

for any person to engage in unfair methods of competition . . . in the conduct of any trade or

commerce.”

       121.    JP Morgan is a “person” as defined in 12A V.I.C. § 303(h).

       122.    JP Morgan’s provision of banking services and payment processing for Epstein and

Epstein-controlled entities constitutes “[t]rade or commerce” as defined in 12 V.I.C. § 303(k).

       123.    In return for knowingly and intentionally participating in, directly or indirectly,

facilitating, and concealing by failing to comply with federal banking regulations regarding

Epstein-related accounts, JP Morgan both profited from the use of the funds in their accounts and

received

       124.    By receiving

                in return for participating in, directly or indirectly, facilitating, and concealing by

failing to comply with federal banking regulations regarding Epstein-related accounts, JP Morgan

unlawfully and unjustly enriched itself at the expense of other banks that complied with their legal

obligations. This conduct constitutes an unfair method of competition in violation of 12A V.I.C. §

304.

       125.    By virtue of its knowing, intentional, and repeated acts constituting unfair

competition, JP Morgan is liable to the Government for all appropriate civil remedies under 12A

V.I.C. §§ 328 and 332, including damages, civil penalties awarded on a per-violation basis

pursuant to 12A V.I.C. § 328(b), appropriate injunctive relief, attorneys’ fees and costs, and all

such other relief as the Court deems appropriate.

                                    REQUEST FOR RELIEF

       The Government respectfully requests that the Court enter judgment in its favor, and



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against JP Morgan, as follows:

       A.     That the Court award the Government compensatory, consequential, general, and

              nominal damages, as suffered by the Government and/or Epstein’s victims, and

              punitive damages, all against JP Morgan in amounts to be awarded at trial;

       B.     That the Court award the Government punitive and exemplary damages against JP

              Morgan in an amount to be determined at trial;

       C.     That the Court order JP Morgan to pay appropriate fines to the Government

              pursuant to 18 U.S.C. § 1591(b) in amounts to be determined at trial;

       D.     That the Court order JP Morgan to provide restitution of all ill-gotten gains to the

              Government pursuant to 18 U.S.C. § 1593 and 14 V.I.C. § 607(a)(6) and pursuant

              to 14 V.I.C. § 608(c)(4) to protect the rights of victims and innocent persons in the

              interest of justice and consistent with the purposes of the CICO Act, in amounts to

              be determined at trial;

       E.     That the Court award the Government treble damages against JP Morgan pursuant

              to 14 V.I.C. § 607(c) in an amount to be determined at trial;

       F.     That the Court order JP Morgan to pay appropriate civil penalties to the

              Government pursuant to 14 V.I.C. § 607(e) and 12A V.I.C. § 328(b) and pursuant

              to 14 V.I.C. § 608(c)(4) to protect the rights of victims and innocent persons in the

              interest of justice and consistent with the purposes of the CICO Act, in amounts to

              be determined at trial;

       G.     That the Court enter an injunction pursuant to 14 V.I.C. § 607(a)(2) and 12A V.I.C.

              § 328(a)(2) to prevent further illegal conduct and any concealment of illegal

              conduct;



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